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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


  Case 1:19-cv-03157-PAB-STV

  WENDELL H. STONE COMPANY, INC., individually and on behalf of all others similarly
  situated,

                  Plaintiff,

  v.

  FIVE STAR ADVERTISING, LLC, a Colorado limited liability company, and JOHNNY LEE,
  an individual,

                  Defendants.


              PLAINTIFF’S MOTION FOR LEAVE TO CONDUCT DISCOVERY


          On March 17, 2021, the Court issued an Order granting Plaintiff’s motion for class

  certification with respect to its proposed Rule 23(b)(2) class. (Dkt. 23 at 16.) At the same time,

  the Court denied without prejudice Plaintiff’s proposed Rule 23(b)(3) class citing the need for an

  administratively feasible method to ascertain class members (Id. at 7) and ordered Plaintiff to file

  an amended motion for class certification under Rule 23(b)(3) within thirty (30) days (Id. at 17).

  Plaintiff now respectfully requests leave to conduct discovery prior to filing an amended motion

  for class certification. In support, Plaintiff states as follows:

          “A party may not seek discovery from any source before the parties have conferred as

  required by Rule 26(f) . . . or when authorized by these rules, by stipulation, or by court order.”

  Fed. R. Civ. P. 26(d)(1). Courts have held that post-default discovery is permissible and can be

  necessary to establish damages and identify potential class members. See Fisher v.



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  TheVegasPackage.com, Inc., Case No. 2:19-cv-01613-JAD-VCF (Dkt. 22) (D. Nev. filed Sept.

  13, 2019) (granting discovery following a defendant’s default to ascertain absent class

  members); TracFone Wireless, Inc. v. Technopark Co., Ltd., 281 F.R.D. 683, 691 (S.D. Fla.

  2012) (“The Court finds such post-default discovery is permissible.”); Microsoft Corp. v. Raven

  Technology, Inc., No. 6:05-cv-1346-Orl-28DAB, 2007 WL 438803, at n.2 (M.D. Fla. Feb. 8,

  2007) (“Of course, Microsoft could have pursued discovery, notwithstanding the default.”).

         Plaintiff now requests a 120-day period to conduct discovery to ascertain what records

  may be available to identify class members. Specifically, Plaintiff plans to serve third-party

  discovery, in the form of subpoenas, on the telephone service provider for the fax number (303)

  308-3002 to obtain Defendants’ outbound fax records. Plaintiff will then utilize the fax records

  to identify the specific fax numbers that received a fax from Defendants as well as the number of

  faxes that each received. Further, Plaintiff is prepared to hire an expert witness to opine as to the

  facts and process, if necessary. This process will allow Plaintiff to demonstrate to the Court the

  number of individuals that were faxed, harassed, and harmed by Defendants’ unlawful conduct.

  Plaintiff also requests permission to seek third-party discovery to determine whether Defendants

  have the financial ability to pay any potential judgment. In short, a brief period of discovery will

  enable Plaintiff to determine if an ascertainable class of individuals exists prior to refiling an

  amended motion for class certification with respect to the Rule 23(b)(3) class.

         Accordingly, Plaintiff requests that the Court enter an order granting Plaintiff leave to

  conduct discovery for a period of 120 days and ordering such additional relief as it deems

  necessary, reasonable, and just.

                                                         Respectfully,



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  Dated: April 16, 2021                    WENDELL H. STONE COMPANY, INC.,
                                           individually and on behalf of all others
                                           similarly situated,

                                           /s/ Taylor T. Smith
                                           One of Plaintiff’s Attorney

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                                           Counsel for Plaintiff and the Putative Class




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                                  CERTIFICATE OF SERVICE

         I, Taylor T. Smith, hereby certify that on April 16, 2021, I served a true and accurate

  copy of the above titled document by first-class U.S. Mail, postage prepaid, and properly

  addressed to the following parties:

                                        Five Star Advertising, LLC
                                          6247 El Diente Peak Pl.
                                          Castle Rock, CO 80108

                                               Johnny Lee
                                         6247 El Diente Peak Pl.
                                         Castle Rock, CO 80108

                                                 /s/ Taylor T. Smith




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